       Case:18-40955-EJC Doc#:5 Filed:07/11/18 Entered:07/11/18 09:55:58                                                Page:1 of 3
Information to identify the case:
Debtor 1              Ernest Munson Thompson                                            Social Security number or ITIN        xxx−xx−6999
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2              Sandra Mullis Thompson                                            Social Security number or ITIN        xxx−xx−9528
(Spouse, if filing)
                      First Name   Middle Name    Last Name                             EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Southern District of Georgia
                                                                                        Date case filed for chapter 7 7/10/18
Case number:          18−40955−EJC


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Ernest Munson Thompson                              Sandra Mullis Thompson

2.      All other names used in the
        last 8 years

3.      Address                                  21 Westcross Rd.                                    21 Westcross Rd.
                                                 Savannah, GA 31411                                  Savannah, GA 31411

4.     Debtor's attorney                     Mark A. Bandy                                          Contact phone 912−507−9873
       Name and address                      Law Office of Mark A. Bandy PC
                                             102 Brandywine Rd                                      Email: bkdocs@markbandylaw.com
                                             Savannah, GA 31405

5.     Bankruptcy trustee                    Tiffany E. Caron, Trustee                              Contact phone 912−234−1215
       Name and address                      P.O. Box 9056
                                             Savannah, GA 31412
                                                                                                               For more information, see page 2 >
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Debtor Ernest Munson Thompson and Sandra Mullis Thompson                                                            Case number 18−40955−EJC


6. Bankruptcy clerk's office                    125 Bull St, Rm 213                                          Hours open Mon−Fri
                                                P.O. Box 8347                                                8:30AM−5:00PM
    Documents in this case may be filed at this Savannah, GA 31412
    address. You may inspect all records filed                                                               Contact phone 912−650−4100
    in this case at this office or online at
    www.pacer.gov.
                                                                                                             Date: 7/11/18

7. Meeting of creditors                          August 10, 2018 at 10:30 AM                                 Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Office of the U S Trustee,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Johnson Square Business
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Center, 2 E Bryan St, Ste 725,
                                                                                                             Bkcy Mtg Rm B, Savannah, GA
                                                         *** Valid photo identification required ***         31401


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 10/9/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
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Debtor: Ernest Munson Thompson                                                      Case Number: 18−40955−EJC

                        ADDITIONAL COURT SPECIFIC INFORMATION.


ID Required at Debtor's photo ID and Social Security Card must be presented at the Meeting of
Meeting Of     Creditors.
Creditors



11 USC 521(i) 45 days after the filing of the petition
Automatic
Dismissal
Deadline
Abandonments The Trustee will consider abandonments of property at the Meeting of Creditors.
of Property  Any objections to the Trustee's Abandonments shall be filed and hearing thereon
             requested within 15 days after said meeting.



Multi−Court         An automated response for further information on this case is available 24 hours
Voice Case          daily by calling the Multi−Court Voice Case Information System (McVCIS) toll
Information         free number 1−866−222−8029, selecting your language, and pressing 42, and
System              then 1, to access the United States Bankruptcy Court for the Southern District of
(McVCIS)            Georgia. Please have the case number, social security number, or debtor name
                    available when calling. In addition, you may also contact the Clerk's Office
                    directly. Please note that McVCIS is NOT the official court record. The official
                    court record continues to be maintained only by the Clerk's Office.



Other
information




                                                                          For The Court:
                                                                   Lucinda Rauback, CLERK
                                                                   United States Bankruptcy Court
                                                                   125 Bull St, Rm 213
                                                                   P.O. Box 8347
                                                                   Savannah, GA 31412

Dated: 7/11/18
                                                                                                      Page 3
